925 F.2d 1456Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John BOWEN, II, Plaintiff-Appellant,v.John Phillip FRYE, Diana Rosenbaum, William G. Alexander,Bob Davis, Defendants-Appellees.
    No. 90-1152.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 4, 1991.Decided Feb. 22, 1991.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Salisbury.  Hiram H. Ward, Senior District Judge.  (CA-90-215-4)
      John Bowen, II, appellant pro se.
      Jacob Leonard Safron, Special Deputy Attorney General, Raleigh, N.C., Ernest Raymond Alexander, Jr., Greensboro, N.C., Diana Rosenbaum, Lincolnton, N.C., for appellees.
      M.D.N.C.
      AFFIRMED.
      Before DONALD RUSSELL, SPROUSE and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      John Bowen, II, appeals from the district court's order granting defendants' motion to dismiss Bowen's civil action arising out of a property dispute.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Bowen v. Frye, CA-90-215-4 (M.D.N.C. Sept. 10, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    